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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

  Civil Action No. 15-cv-01620-REB-CBS

  CHARLES WALTER SMITH, III,

          Plaintiff,

  v.

  SAFEWAY INC.

          Defendant.


                                       ORDER OF DISMISSAL

  Blackburn, J.

          The matter is before me on the parties’ Stipulation for Dismissal of All Claims

  with Prejudice [#53]1 filed July 20, 2016. After careful review of the stipulation and the

  file, I conclude that the stipulation should be approved and that this action should be

  dismissed with prejudice.

          THEREFORE, IT IS ORDERED as follows:

          1. That the Stipulation for Dismissal of All Claims with Prejudice is

  approved;

          2. That the combined Final Pretrial Conference/Trial Preparation Conference set

  December 15, 2016, is vacated;

          3. That the jury trial set to commence January 9, 2017, is vacated; and



          1
             “[#53]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.
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        4. That this action is dismissed with prejudice with the parties to pay their own

  attorney fees and costs.

        Dated July 21, 2016, at Denver, Colorado.

                                                  BY THE COURT:




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